                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

TEDDY O. MATSON,
          Plaintiff,
                                          Case Number 3:08-CV-00115-RRB
v.

PENINSULA AIRWAYS, INC,
          Defendant.                      JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


 XX   DECISION BY COURT. This action came to trial or hearing
before the court. The issues have been tried or heard and a
decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT plaintiff's motion to remand is granted. This action
is REMANDED to the Superior Court for the State of Alaska, Third
Judicial District at Naknek, 3NA-07-00009 CI.


APPROVED:

 s/RALPH R. BEISTLINE
 RALPH R. BEISTLINE
 United States District Judge
 Date: October 9, 2008
 NOTE: Award of prejudgment interest,
 costs and attorney's fees are governed
 by D.Ak. LR 54.1, 54.3, and 58.1.




[]{JMT2.WPT*Rev.3/03}




     Case 3:08-cv-00115-RRB Document 25 Filed 10/09/08 Page 1 of 1
